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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 17-60907-CIV-MORENO


   FEDERAL TRADE COMMISSION, and

   STATE OF FLORIDA,

           Plaintiffs,

                v.

   JEREMY LEE MARCUS, et al.,

           Defendants and Relief Defendants.


    Plaintiff Federal Trade Commission’s Motion to Be Excused From the October 10, 2019
                    Hearing, or in the Alternative, to Appear Telephonically

         Plaintiff, the Federal Trade Commission (the “FTC”), files this motion in connection with

  the Court’s Order at Doc. 420 granting third-party PNC Bank’s Request for Hearing (D.E. 405)

  and setting a hearing for this Thursday, October 10, 2019 (the “Hearing”). The FTC respectfully

  requests that the Court excuse the FTC from the Hearing, or should the Court wish to hear from

  the FTC, allow it to appear telephonically.

         The Hearing is related to the Receiver’s objections to Judge Seltzer’s June 11, 2019

  Report and Recommendation regarding a motion to compel filed by the Court-appointed

  Receiver against a third party, PNC Bank. D.E. 357, 363, 367, 380, 403, 405. The FTC took no

  position on the Receiver’s underlying motion to compel (D.E. 357, p. 20) and therefore did not

  participate in the underlying briefing or the hearing before Judge Seltzer. Accordingly, the FTC

  respectfully requests that the Court excuse the FTC from the upcoming Hearing, which will not

  prejudice any party in this matter.




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         In the alternative, should the Court wish to hear from the FTC during the Hearing, the

  FTC respectfully requests permission to appear by telephone. Appearing telephonically would

  eliminate the FTC’s incursion of travel expenses necessary to send its attorney(s) from Atlanta,

  Georgia to attend the Hearing in Miami, Florida and would not prejudice any party in this matter.

         Counsel for the FTC has conferred with counsel for the Receiver and with counsel for

  PNC Bank, and neither objects to the relief requested in this motion.

  Dated: October 8, 2019.

                                         Respectfully submitted,

                                         ALDEN F. ABBOTT
                                         General Counsel

                                         /s/ Angeleque P. Linville
                                         VALERIE M. VERDUCE, Special Bar No. A5500477
                                         vverduce@ftc.gov; (404) 656-1355
                                         ANGELEQUE P. LINVILLE, Special Bar No. A5502336
                                         alinville@ftc.gov; (404) 656-1354

                                         Federal Trade Commission
                                         225 Peachtree Street, Suite 1500
                                         Atlanta, GA 30303
                                         Telephone: (404) 656-1355
                                         Facsimile: (404) 656-1379

                                         Attorneys for Plaintiff
                                         FEDERAL TRADE COMMISSION


                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 8th day of October, 2019, I electronically filed the
  foregoing document with the Clerk of the Court by using the CM/ECF system. I also certify that
  the foregoing document is being served this date on all counsel of record or pro se parties via
  transmission of Notices of Electronic Filing generated by the CM/ECF system, or for those
  counsel or parties who are not authorized to receive CM/ECF Notices of Electronic Filing, is
  being served in the manner specified.

                                         /s/ Angeleque P. Linville
                                         Angeleque P. Linville



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                                          SERVICE LIST

  Jonathan E. Perlman, Esq.
  jperlman@gjb-law.com
  Gregory M. Garno, Esq.
  ggarno@gjb-law.com
  Allison Day, Esq.
  aday@gjb-law.com
  Theresa M.B. Van Vliet, Esq.
  tvanvliet@gjb-law.com
  Genovese Joblove & Battista, P.A.
  Miami Tower, 44th Floor
  100 Southeast 2nd Street
  Miami, FL 33131
  Receiver and his Counsel

  PNC Bank, N.A.
  c/o Peter D. Hardy, Esq.
  HardyP@ballardspahr.com
  Diana M. Joskowicz, Esq.
  Ballard Spahr LLP
  1735 Market Street, 51st Floor
  Philadelphia, PA 19103
  Peter W. Homer, Esq.
  PHomer@homerbonner.com
  Homer Bonner Jacobs, P.A.
  1441 Brickell Avenue
  Four Seasons Tower, Suite 1200
  Miami, FL 33131
  Counsel for Third-Party PNC Bank

  Ryann Flack
  Ryann.Flack@myfloridalegal.com
  Office of the Attorney General
  Consumer Protection Division
  SunTrust International Center
  1 S.E. 3rd Avenue, Suite 900
  Miami, FL 33131
  Counsel for Co-Plaintiff State of Florida




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